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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-195
                                                   )
 ETHAN NORDEAN, et al.,                            ) Judge Timothy J. Kelly
                                                   )
        Defendants.                                )
                                                   )

   DEFENDANT NORDEAN’S NOTICE OF NEW EVIDENCE RELEVANT TO THE
         GOVERNMENT’S MOTION TO REVOKE RELEASE ORDER

       Defendant Ethan Nordean, through his counsel, files this notice to inform the Court that,

subsequent to the filing of the government’s third motion to detain Nordean pretrial, ECF No. 30,

the government produced evidence to Nordean’s counsel that is relevant to the government’s

motion. In addition, two witnesses have come forward with evidence inconsistent with the

government’s allegation that the defendants conspired to commit crimes on January 6.

       A.      1,500 pages of Proud Boys Telegram chats produced March 25

       On March 25, the government produced 1,500 pages of Telegram chats among members

of the Proud Boys. These encompass the group’s communications in Washington, D.C., between

January 5 and 6, 2021. It is the evidence upon which the superseding indictment bases its

allegation that the defendants conspired before January 6 to commit violations of 18 U.S.C. §§

1512(c)(2) and 231(a)(3) during the protests at the Capitol Building on that day. First

Superseding Indictment, ¶¶ 42-68.

       The Telegram chats are significant in a number of ways. The timing of the government’s

production of them is also significant.




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       First, although they span 1,500 pages of text, and the days before and after January 6, the

chats do not contain a single reference to the commission of crimes. The superseding indictment

creates an impression that cherry-picked references to a “plan” within the Telegram chats

referred to a plan to commit federal crimes. Taken together, the chats show that is plainly not the

case, as the examples cited below demonstrate. To the contrary, the chats show that, not only

was there no “plan” to commit federal crimes among the group, members of the group frequently

noted there was no plan, or coherent organization, whatsoever.

        Second, the 1,500 pages of chats contain a total of six messages by Nordean. The Court

will recall that, in its second attempt to detain him pretrial, the government represented to the

Chief Judge that, on January 6:

       Defendant—dressed all in black, wearing a tactical vest—led the Proud Boys through the
       use of encrypted communications and military-style equipment, and he led them with the
       specific plans to: split up into groups, attempt to break into the Capitol building from as
       many different points as possible . . . .

ECF No. 17, pp. 10-11 (emphasis added).

       In fact, when the government made that representation, it knew that Nordean’s mobile

phone was without power during the events of the Capitol intrusion. The absence of any

communications from Nordean in the Telegram chats during the relevant time period is a further

proof of this. None of the six Nordean messages concerns his agreement to do anything, much

less commit a crime.

       Third, the Court will also recall that on March 3 the government represented that

Nordean should be detained pretrial because he was a “risk of flight” on account of a “fake

passport” found in his bedroom. Nordean’s opposition to the government’s third detention

motion showed why that claim, which the government has abandoned, was false. But the new

Telegram messages show that, even as the government represented in Court that Nordean was

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planning to flee the country, it possessed his chats showing that, as of three days before his

arrest, he had plans to relocate to North Carolina:




       Fourth, although the 1,500 pages of Telegram chats contain virtually no commentary

from Nordean, they are littered with messages from other members of the group showing there

was no plan or organization at all on January 6, much less a plan to commit the two federal

offenses specified in the superseding indictment. All these chats are omitted from the

indictment. The chats quoted in the indictment are selective and substantially misleading.

       On January 5, for example, one member laments, “This is so unorganized! Where is our

order?” To which another replies, “it’s not a [Proud Boys] event. Why would there be orders?”




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       Consider when another member complained, on January 5, that the group has “No

fuckin’ plan either”:




       Or consider when yet another member inquired, late on January 5: “Ok you queers, what

is the fucking plan?”:




       Similarly, another member of the chat lamented the lack of any “plan”:




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       Or consider when a different member, on the morning of January 6 itself, said, “Lol.

This is a mirror of the 12th. Exact same plan.”:




       The “12th” is a reference to a rally attended by members of the group in Washington,

D.C., on December 12, 2020, which did not entail a “plan” to infiltrate Congress and commit

crimes. Proud Boys, anti-Trump protestors tangle in DC as daytime rallies end, New York Post,

Dec. 12, 2020, available at: https://nypost.com/2020/12/12/proud-boys-anti-trump-protesters-

tangle-in-dc-as-daytime-rallies-end/.

       After the Capitol Building had been breached on January 6, members of the Telegram

chats upon which the superseding indictment rests expressed surprise at the turn of events,

plainly stating it was contrary to their expectation. For example, one member posted an article in

the Telegram chats reporting that the president had ordered the deployment of the National

Guard. Commenting on the article, the member said, “Ummm I don’t think the plan was to

attack[], damage, and attempt to control government building.” He added, “I believe Trump is

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saying FAFO.” “FAFO” is an acronym for “Fuck around and find out.” 1 In other words, this

member of the group was opining that the president, for whom the group was present on January

6, was advising protestors that if they tried to damage the Capitol they would be crushed:




       That member’s surprise at the January 6 events was echoed by others, one of whom said

it “was NOT what I expected to happen today . . All from us showing up and starting some

chants and getting the normies all riled up”:




1
 “FAFO” is roughly equivalent to Doc Holliday’s line, “You’re a daisy if you do,” i.e., you’re
dead if you try it.
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       Another theme throughout the Telegram chats, which is carefully omitted from the

superseding indictment, is that the members viewed their role on January 6 as a group that would

thwart attacks on supporters of the president, not infiltrate the Capitol Building to commit

crimes. Whether the group was in fact needed for that function is immaterial for purposes of

weighing the indictment’s claim of conspiracy. The key point is that this was how they viewed

their purpose on January 6:




       On March 22, CBS News aired and published an interview with the former acting U.S.

Attorney of this district, Michael Sherwin, who led the investigation into the events at the

Capitol on January 6. See Inside the Prosecution of the Capitol Rioters, CBS News, Mar. 22,

2021, available at: https://www.cbsnews.com/news/capitol-riot-investigation-sedition-charges-

60-minutes-2021-03-21/. In the “60 Minutes” interview, Sherwin made several important

disclosures concerning the superseding indictment’s claim that the defendants in this case

conspired long before January 6 to commit crimes inside the Capitol Building that day.
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       Among other questions, the former acting U.S. Attorney was asked, “Was there a

premeditated plan to breach the Capitol?” The question was asked after the superseding

indictment was filed in this case. Former acting U.S. Attorney Sherwin replied, “That’s what

we’re trying to determine right now.” https://www.cbsnews.com/news/capitol-riot-investigation-

sedition-charges-60-minutes-2021-03-21/. Of the Proud Boys, Sherwin admitted, “We don’t

know what the[ir] full plan [was]. . .” Id.

       Evidence like the above-cited Telegram chats shows that the former acting U.S. Attorney,

who personally participated in the protests as an observer, was telling the truth. The government

has charged a conspiracy without “know[ing] what the full plan [was].” And that is quite similar

to what Judge Mehta has repeatedly found in the government’s other January 6 conspiracy cases

involving the “Oath Keepers,” cases with claims far more serious than those presented here. See

U.S. v. Caldwell, 21-cr-28, Mar. 12, 2021 (D.D.C. 2021) (releasing Oath Keepers’ leader on

strict conditions); U.S. v. Crowl, 21-cr-28, Mar. 26, 2021 (D.D.C. 2021) (releasing Oath

Keepers’ member); U.S. v. Meggs, 21-cr-28, Mar. 26, 2021 (D.D.C. 2021) (same).

       B.      Two witnesses offer evidence inconsistent with the government’s conspiracy
               theory

       Attached to this notice are two sworn declarations.

       Michale Graves. The first is by Michale Graves, a singer-songwriter who formerly led

the Misfits, a punk-rock band. Decl. of Michale Graves, Exh. 1. On January 5, Graves came to

Washington, D.C., to perform music at a rally held by Latinos for Trump. That day, Graves had

conversations with Nordean in D.C. Exh. 1, ¶ 3. Nordean proposed that Graves perform for him

and the fellow members of his group at a residence in D.C., which the Proud Boys rented

through Airbnb. Exh. 1, ¶ 4.




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       Nordean’s original proposal was that Graves perform at the Airbnb residence on the

evening of January 5. However, that proposal did not end up panning out. Nordean then

proposed that Graves perform at the D.C. residence on the afternoon of January 6. Exh. 1, ¶ 4.

       Given the timing of Grave’s performance for Latinos for Trump, Nordean’s proposal that

the singer perform at the Proud Boys’ Airbnb residence on January 6 would imply that Graves

likely would have arrived there at approximately 3-4 p.m., had the events of January 6 at the

Capitol not transpired. Exh. 1, ¶ 5.

       Arturo Santaella. The second declaration is by Arturo Santaella. Santaella is the

manager for Michale Graves. Declaration of Arturo Santaella, Exh. 2. He independently

corroborates the sworn statement of Graves concerning Nordean’s proposal that the singer

perform at the Proud Boys’ Airbnb in the afternoon of January 6. Exh. 2, ¶¶ 4-5.

       The import of these witness statements is clear. The superseding indictment charges that,

no later than two days following the 2020 presidential election, the defendants conspired to

commit violations of 18 U.S.C. §§ 1512(c)(2) and 231(a)(3) during the protests at the Capitol

Building the following year, on January 6, 2021. First Superseding Indictment, ¶¶ 42-68. The

indictment alleges that the defendants breached the Capitol at approximately 2:13 p.m. Id., ¶ 20.

The government charges that the defendants planned to breach the Capitol at that time and to

assume control of Congress. Id., ¶ 27.

       By contrast, these witnesses swear that, on January 5 and January 6 itself, Nordean

proposed a plan to listen to music at an Airbnb residence in the early afternoon on January 6.

Exhs. 1, 2. Unless it is claimed that the defendants had a plan to topple the world’s most

powerful government in approximately one hour or less (without any weapons), immediately




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leave the scene without any law enforcement concern, and then throw a carefree music party

blocks from the scene of the world-historical crime, both of these contentions cannot be true.

        C.      Nordean’s Probation Officer confirms he remains in compliance with his
                strict conditions of release

        In his opposition to the government’s third detention motion, Nordean attached a

statement from Ben Beetham, the U.S. Probation Officer supervising his pretrial release on strict

conditions. ECF No. 32-1. Attached to this notice is an updated statement from Probation

Officer Beetham, which confirms that Nordean remains in compliance with the strict conditions

of his release, as of the date of the filing of this notice. Exh. 3.


Dated: March 29, 2021                           Respectfully submitted.

                                                /s/ David B. Smith
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                                        Certificate of Service

        I hereby certify that on the 29th day of March, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

                Jim Nelson
                Assistant United States Attorney
                555 4th Street, N.W., Room 4408
                Washington, D.C. 20530
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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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